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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  AT BECKLEY

UNITED STATES OF AMERICA,

v.                                           CRIMINAL CASE NO. 5:02-00120-02

HARTFORD SELLERS, SR.


                                         ORDER

         By Standing Order entered on May 20, 2002, and filed in this

case on March 3, 2003, this matter was referred to United States

Magistrate Judge R. Clarke VanDervort.               Pursuant to 28 U.S.C. §

636(b)(1)(B), the Standing Order directs Magistrate Judge

VanDervort to submit proposed findings and recommendation

concerning the disposition of this matter.                 Magistrate Judge

VanDervort submitted his Proposed Findings and Recommendation on

May 3, 2005, and proposed that this court (1) confirm and accept

the Magistrate Judge’s findings contained within his Proposed

Findings and Recommendation, and (2) deny defendant’s Motion

Pursuant to 18 U.S.C. § 3582 (Docket No. 123).

        In accordance with the provisions of 28 U.S.C. § 636(b), the

parties were allotted ten days, plus three mailing days, in which

to file any objections to Magistrate Judge VanDervort's Proposed

Findings and Recommendation.             The failure of any party to file

objections within the appropriate time frame constitutes a waiver

of such party's right to a de novo review by this court.

Snyder v. Ridenour, 889 F.2d 1363 (4th Cir. 1989); Thomas v. Arn,

474 U.S. 140 (1985).          Moreover, this court need not conduct a de
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novo review when a petitioner “makes general and conclusory

objections that do not direct the court to a specific error in

the magistrate’s proposed findings and recommendations.”                Orpiano

v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982).

         Here, defendant timely filed objections to the Magistrate

Judge’s Proposed Findings and Recommendations.             In his

objections, petitioner discusses how former Chief Judge Charles

H. Haden II calculated his sentence, and states that he filed a

motion once “Amendment 467 came out.”1          Defendant’s objections are

“general and conclusory” as discussed in Orpiano in that they do

not direct the district court to any specific errors in the

Proposed Findings and Recommendations and instead only restate

arguments contained in petitioner’s earlier pleadings.                See 687

F.2d at 47.     As such, the court need not conduct de novo review.

         Having reviewed the Findings and Recommendation filed by

Magistrate Judge VanDervort, the court (1) CONFIRMS and ACCEPTS

the factual and legal analysis within the magistrate judge’s

Proposed Findings and Recommendation, and (2) DENIES defendant’s

Motion pursuant to 18 U.S.C. § 3582 (Docket No. 123).




     1
       Defendant appears to be referring to Amendment 657, which
amends Note B to U.S.S.G. § 2D1.1 as it refers to the weight of
Oxycodone. Amendment 657 was discussed in the magistrate judge’s
Findings and Recommendations. Amendment 467 amended U.S.S.G. §
6B1.2, dealing with plea bargaining, and does not appear applicable
to defendant’s case as was discussed in the Findings and
Recommendations.

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     The Clerk is further directed to forward a certified copy of

this Order to all counsel of record and the plaintiff, pro se.

     IT IS SO ORDERED this 4th day of October, 2005.

                                           ENTER:




                                           David A. Faber
                                           Chief Judge




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